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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               DANVILLE DIVISION

UNITED STATES OF AMERICA,                    )
    Plaintiff,                               )      Criminal Action No. 4:20cr00027
                                             )
v.                                           )
                                             )
BRIAN DAVID HILL,                            )      By: Michael F. Urbanski
    Defendant.                               )      Chief United States District Judge

                                             ORDER

          By order entered December 17, 2020, the court advised Brian David Hill that it intended

to construe his pro se motion titled as a “Motion to Vacate/Nullify Fraudulent Begotten

Order/Judgment,” ECF No. 3, as one brought pursuant to 28 U.S.C. § 2255 and to transfer it

to the court where he was sentenced. The order gave Hill thirty days, however, to either amend

or withdraw his motion, as well as to provide any additional information as to why the motion

should be deemed timely filed.

          In response, Hill filed a notice of withdrawal of his motion. ECF No. 7. Accordingly, it

is ORDERED that Hill’s prior motion, ECF No. 3, is deemed WITHDRAWN. The court

will take no further action on it.

          The Clerk shall send a copy of this order to the Hill and to counsel for the United

States.

          It is so ORDERED.

                                             Entered: January 19, 2021
                                                                 Michael F. Urbanski
                                                                 Chief U.S. District Judge
                                                                 2021.01.19 12:02:23 -05'00'

                                             Michael F. Urbanski
                                             Chief United States District Judge
